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                       EXHIBIT F
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Claim 15                         Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[pre] A pixel circuit in an    The UE-MBRPTL015 includes an organic light-emitting diode (“OLED”) display.
organic light emitting device,
comprising:
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Claim 15                         Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[pre] A pixel circuit in an    The UE-MBRPTL015 comprises a pixel circuit in an organic light-emitting device. The
organic light emitting device,   annotated backside image (below left) shows a pixel circuit of the Ultimate Eshop
comprising:                      MBRPTL015, including transistors (T1–T7) and a capacitor (Cst). An exemplary circuit
                                 diagram of the pixel circuit of the Ultimate Eshop MBRPTL015 is also shown (below right).
(cont’d)
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Claim 15                             Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[a] a first transistor including   The pixel circuit of the UE-MBRPTL015 has a first transistor including a gate to which a
a gate to which a current scan       current scan signal is applied, and a source to which a data signal voltage is applied. As shown
signal is applied, and a source to   in the annotated backside image below, a source of the first transistor T2 is coupled to a data
which a data signal voltage is       line DATA[m] for delivering a data signal voltage. The gate of first transistor T2 is coupled to
applied;                             a scan line SCAN[n] that provides a current scan line signal. In response to an active (low)
                                     current scan line signal delivered on scan line SCAN[n], first transistor T2 delivers a data
                                     signal voltage from data line DATA[m].
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Claim 15                             Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[a] a first transistor including   For example, as shown in the exemplary annotated images below, in response to an active
a gate to which a current scan       (low) current scan line signal (blue line) delivered on scan line SCAN[n], first transistor T2
signal is applied, and a source to   delivers the data signal voltage (red line) present on data line DATA[m]. The annotated
which a data signal voltage is       images below depict an exemplary voltage path from data line DATA[m] through transistors
applied;                             T2-T1-T3 to the gate of transistor T1.

(cont’d)

                                           Delivery of Data Signal Voltage                    Delivery of Data Signal Voltage
                                                 (backside image)                                  (front-side image)




                                                                                                      Contact Hole
                                                                                                 (to T1 Gate Electrode)
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Claim 15                          Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[b] a second transistor whose   The pixel circuit of the UE-MBRPTL015 has a second transistor whose source is coupled to a
source is coupled to a drain of   drain of the first transistor. As shown in the annotated backside image below, the source of the
the first transistor;             second transistor T1 is coupled to the drain of first transistor T2.
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Claim 15                            Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[c] a third transistor whose      The pixel circuit of the UE-MBRPTL015 has a third transistor whose drain and source are
drain and source are connected      connected between a gate and a drain of the second transistor. As shown in the annotated
between a gate and a drain of the   backside image below, a third transistor T3 has drain and source electrodes connected between
second transistor;                  gate and drain electrodes of the second transistor T1, respectively.
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Claim 15                            Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[d] a fourth transistor           The pixel circuit of the UE-MBRPTL015 has a fourth transistor including a gate to which a
including a gate to which a         current light-emitting signal is applied, a source to which a power supply voltage is applied,
current light-emitting signal is    and a drain coupled to the source of the second transistor. In the annotated backside image
applied, a source to which a        below, a fourth transistor T5 has a source coupled to ELVDD and a drain coupled to the
power supply voltage is applied,    source of transistor T1. In response to an active (low) current light-emitting signal delivered
and a drain coupled to the source   on emission line EM[n], fourth transistor T5 delivers a power supply voltage from ELVDD to
of the second transistor;           second transistor T1.
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Claim 15                             Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[e] a fifth transistor including   The pixel circuit of the UE-MBRPTL015 has a fifth transistor including a gate to which the
a gate to which the current light-   current light-emitting signal is applied, a source coupled to the drain of the second transistor,
emitting signal is applied, a        and a drain coupled to one terminal of an electroluminescent element. In the annotated
source coupled to the drain of       backside image below, a fifth transistor T6 has a source coupled to a drain of second transistor
the second transistor, and a drain   T1, and a drain is coupled to one terminal of an electroluminescent element (OLED) through
coupled to one terminal of an        a contact hole. As further shown in the annotated image below, in response to an active (low)
electroluminescent element;          current light-emitting signal delivered on emission line EM[n], fifth transistor T6 turns on and
                                     delivers driving current that flows through second transistor T1 to the OLED.
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Claim 15                            Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[f] the electroluminescent        The pixel circuit of the UE-MBRPTL015 has an electroluminescent element with one terminal
element having the one terminal     coupled to the drain of the fifth transistor and the other terminal grounded.
coupled to the drain of the fifth
transistor and the other terminal   As shown in the annotated backside image below, the pixel circuit has an electroluminescent
grounded; and                       element (OLED) with a first terminal, the anode, coupled to the drain of the fifth transistor
                                    T6. The other terminal of the OLED is grounded to facilitate the flow of current from fifth
                                    transistor T6 through the anode of the OLED to the cathode in the light-emission phase.
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Claim 15                            Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[g] a capacitor in which one      The pixel circuit of the UE-MBRPTL015 has a capacitor in which one terminal of the
terminal of the capacitor is        capacitor is coupled to the gate of the second transistor and a power supply voltage is applied
coupled to the gate of the second   to the other terminal of the capacitor.
transistor and a power supply
voltage is applied to the other     As shown in the annotated backside image below, blue dashes outline the lower plate of the
terminal of the capacitor.          capacitor Cst, which is coupled to the gate of the second transistor T1.
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Claim 15                            Ultimate Eshop MBRPTL015 OLED Display (“UE-MBRPTL015”)

15[g] a capacitor in which one      As shown in the annotated front-side image below, red dashes outline the upper plate of the
terminal of the capacitor is        capacitor Cst that is coupled to the power supply voltage ELVDD.
coupled to the gate of the second
transistor and a power supply
voltage is applied to the other
terminal of the capacitor.

(cont’d)




                                                                                                                 Contact Holes
                                                                                                                 (to ELVDD)


                                                                                                                 Power Supply
                                                                                                                 Voltage (ELVDD)
